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                                 UNITED STATES DISTRICT COURT
                                         District of Maine

UNITED STATES OF AMERICA,                             )
                                                      )
                  v.                                  )    2:11-CR-100-GZS-2
                                                      )
TERRELL CAMPBELL,                                     )
-------------------------------------------------------)
                                                      )
UNITED STATES OF AMERICA ,                            )
                                                      )
                  v.                                  )    2:11-CR-100-GZS-3
                                                      )
ESLEY PORTEOUS,                                       )


                           ORDER AFFIRMING THE
                RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


        The United States Magistrate Judge filed with the Court on December 6, 2011, her

Recommended Decision (Docket No. 73). Defendant Terrell Campbell filed his Objection to the

Recommended Decision (Docket No. 74) on December 22, 2011. Defendant Esley Porteous filed

his Objection to the Recommended Decision (Docket No. 75) on December 22, 2011. The

Government filed its Response to Defendants’ Objections to the Recommended Decision (Docket

No. 77) on January 9, 2012.

        I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that

no further proceeding is necessary.

        1.       It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
                 is hereby AFFIRMED.
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       2.     It is hereby ORDERED that the Motion to Suppress (Docket No. 40) filed by
              Defendant Esley Porteous is DENIED.

       3.     It is hereby ORDERED that the Motion to Suppress (Docket No. 42) filed by
              Defendant Terrell Campbell is DENIED.


                                               /s/George Z. Singal_____________
                                               U.S. District Judge

Dated this 1st day of February, 2012.
